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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                         X


 UNITED STATES OF AMERICA                           SEALED INDICTMENT

           -   V •   -                             S2 20 Cr. 188 (_)

 RUBEN WEIGAND,

           Defendant.

                                         X




                                     COUNT ONE
                         (Conspiracy to Commit Bank Fraud)

     The Grand Jury charges:

                              OVERVIEW OF THE SCHEME

     1.   From at least in or about 2016, up to and including in

or about 2019, RUBEN WEIGAND, the defendant, principals at one

of the leading on-demand marijuana delivery companies in the

United States (the "Online Marijuana Marketplace Company"), and

other co-conspirators, engaged in a scheme to deceive United

States banks and other financial institutions into processing in

excess of one hundred million dollars in credit and debit card

payments for the purchase and delivery of marijuana products

(the "Transaction Laundering Scheme").           Because many United

States banks are unwilling to process payments involving the

purchase of marijuana, the Online Marijuana Marketplace Company

used fraudulent methods to avoid these restrictions and to
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receive in excess of one hundred million dollars from customers

located in California and Oregon who purchased marijuana through

the Online Marijuana Marketplace Company.

     2.   To effectuate the Transaction Laundering Scheme, RUBEN

WEIGAND, the defendant, and several of the principals of the

Online Marijuana Marketplace Company, arranged for the money

received from the Online Marijuana Marketplace Company's

customers to be disguised as payments to over a dozen phony

online merchants and other non-marijuana businesses (the "Phony

Merchants"), including transactions that appeared to be for

stenographic services, music stores/pianos, and cosmetic stores.

To accomplish this deceit, the Online Marijuana Marketplace

Company relied on third party payment processors (the "Payment

Processors") who worked with WEIGAND and other co-conspirators

to create phony offshore corporations and websites (i.e., the

Phony Merchants) and open offshore merchant bank accounts.

WEIGAND and other members of the conspiracy used the Phony

Merchants' offshore bank accounts to disguise payments made to

the Online Marijuana Marketplace Company for the purchase of

marijuana products and to deceive United States banks about the

true nature of the financial transactions they were processing.

Working together, WEIGAND, other Payment Processors, and

principals of the Online Marijuana Marketplace Company deceived

United States banks and financial institutions-including

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federally insured institutions-into processing in excess of one

hundred million dollars in marijuana purchases made through the

Online Marijuana Marketplace Company.

          BACKGROUND ON THE ONLINE MARIJUANA MARKETPLACE COMPANY

     3.    At all times relevant to this Indictment, the Online

Marijuana Marketplace Company was a California-based company

that arranged for on-demand sale and delivery of marijuana

products to customers located in California and Oregon.          Through

the Online Marijuana Marketplace Company's mobile application

and website (collectively, the "Applications"), customers could

order marijuana from different dispensaries listed on the

Applications.    Specifically, customers used the Applications to

select the marijuana product(s) of their choice, and to receive

delivery of their selection shortly thereafter.         Although the

Online Marijuana Marketplace Company operated the technology

platform through which users purchase marijuana (i.e., the

Applications), it was not the actual retailer of the marijuana.

The actual retailers, referred to as "dispensaries," contracted

with the Online Marijuana Marketplace Company to fulfill orders

placed by customers through the Applications.

     4.     To request and receive a delivery of marijuana through

the Applications, a user created an Online Marijuana Marketplace

Company account through the company's website or mobile

application.    Once the customer selected his or her product(s)

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for purchase, the Application generated a check-out screen for

the order where the customer could select a payment option.           At

various points from in or around 2016, through in or around

2019, one of the payment options-offered by the Online Marijuana

Marketplace Company for purchases of marijuana were credit cards

and debit cards.    For purchases with credit cards or debit

cards, the Applications allowed customers to enter their card

information and then complete the payment using that

information.

     5.     Once a customer placed an order, a delivery driver

would deliver the order to the customer shortly thereafter.

Once the delivery was complete, the Online Marijuana Marketplace

Company generated and transmitted via email a receipt for the

purchase.    When customers made purchases by credit cards or

debit cards, those purchases would appear on the customers' card

statements as though they were from merchants other than the

Online Marijuana Marketplace Company (e.g., a merchant from whom

the customer had not in fact purchased the marijuana).

     6.     The Online Marijuana Marketplace Company stopped

accepting credit card payments in or around mid-2019.




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                BACKGROUND ON CREDIT AND DEBIT CARD PROCESSING

     7.      Credit and debit card transactions are usually

processed through payment networks (the "Payment Networks"), run

by entities such as MasterCard or Visa (the "Credit Card

Companies"), that provide authorization, clearing and settlement

services for credit and debit card transactions.             Financial

institutions, as members of these payment networks, can offer

payment processing services directly to merchants, but more

commonly partner with non-bank third parties -           including payment

processors, Independents Sales Organizations ("ISOs"), and

Merchant Service Providers        ("MSPs," collectively with ISOs and

payment processors, the "Processors") -          for such third parties

to process payments on behalf of the sponsoring financial

institutions.      These processors are typically required to be

registered with the Payment Networks.

     8.       Processors typically use Payment Networks set up by

the Credit Card Companies.         The Credit Card Companies have rules

that prohibit their credit cards from being used for marijuana

purchases.      Violations of these rules can lead to penalties and

ultimately to a merchant being terminated.            Debit cards that are

issued by banks often fall under the same rules because the

Processors typically use the Credit Card Companies' Payment

Networks.




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"


         9.    When purchases are made with a credit or debit card,

    merchant category codes ("MCCs") are assigned to each

    transaction that are specific to the category of product or

    service being purchased.     Because the Credit Card Companies do

    not support marijuana transactions, they do not have marijuana

    merchant codes.    As a result, in order to process a marijuana

    transaction through a Credit Card Company, a false merchant code

    - i.e., a merchant code associated with a different product or

    product category - would have to be used.         RUBEN WEIGAND, the

    defendant, and his co-conspirators, used merchant codes for

    other products - typically referred to as "miscoding" -         in order

    to get around these rules.

         10.   Online credit card and debit card payment transactions

    typically consist of two steps:     (1) an authorization; followed

    by (2) clearing and settlement.         Card authorization for online

    purchases generally works as follows:

               a.     A cardholder (i.e., the individual making the

    purchase online)    initiates a transaction by entering a credit or

    debit card number, card expiration date, and other security

    features required by the merchant, such as the Card Verification

    Value ("CVV") number or the cardholder's zip code.




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              b.    The merchant uses its payment software or gateway 1

to transmit the cardholder's information and the details of the

transaction, including the name and location of the merchant,

the MCC, a description of the goods and services purchased

    (sometimes referred to as the "descriptor"), the amount of the

transaction, and the transaction date, to its partner Processor

    (or directly to the merchant's bank, which is often referred to

as the "acquiring bank").

             c.     The Processor captures the transaction

information and routes it through a Payment Network to the

cardholder's "issuing bank," as defined below, to be approved or

declined.

             d.     The bank issuing the credit or debit card to the

customer ("issuing bank") receives the transaction information

from the Processor and responds by approving or declining the

transaction.       Issuing banks in the United States generally will

not extend credit (i.e., approve) transactions that involve

unlawful activity under federal law, such as the sale of

marijuana. 2



1 A payment gateway is a technology used by merchants to accept
debit or credit card purchases from customers.  For online
sales, this typically refers to the "checkout" portals used to
enter credit card information or credentials.
2 Although the personal use of marijuana has been legalized under
state law in several states, including California and Oregon,
marijuana is a Schedule I Controlled Substance under the

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           e.   The issuing bank sends a response code back to

the Processor, and that code reaches the merchant's payment

gateway and is stored in a batch file pending settlement, which

is described below.

           f.   If the merchant receives authorization, the

issuing bank will place a hold for the amount of the purchase on

the cardholder's account pending settlement.

           g.   Finally, the merchant typically provides the

customer a receipt to complete the sale.       This entire

authorization process usually takes place within seconds.

           h.   In order to accept transactions on behalf of the

Credit Card Companies, the acquiring bank must be a registered

member of the Credit Card Companies.

     11.   Step two of the credit card and debit payment card

process is clearing and settlement, which pertains to the

recording of the movement of ;unds ("clearing"), and the actual

flow of funds   ("settlement"). Clearing and settlement generally

works as follows:

           a.   During the clearing stage, the issuing bank posts

to each cardholder's account the transaction information that it

received from the merchant (or from the Processor after




Controlled Substances Act, and the possession, distribution, and
use of marijuana is unlawful under federal statutes, including
Title 21, United States Code Sections 841 and 844.

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receiving it from the merchant), including the name of the

merchant and the amount for each transaction.        However, in the

clearing stage, there is no exchange or transfer of funds.

          b.    The acquiring bank then credits the merchant's

account and submits the transaction to the respective Credit

Card Company's Payment Network for settlement.

          c.    In the settlement stage, the Credit Card

Companies use their Payment Networks to forward each transaction

to the appropriate issuing bank, which ordinarily will transfer

funds for the approved transaction, less a fee.

          d.    The Credit Card Companies typically use their

Payment Networks to pay the acquiring bank (and sometimes the

Processor) its respective percentages from the remaining funds,

after which the Processor pays tqe merchant an amount equal to

the cardholder purchases, minus a fee charged to merchants for

processing the debit and credit card transactions (i.e., the

"merchant discount rate").

          e.    The final step is for the issuing bank to use the

information it has received from each transaction to prepare

monthly cardholder statements, which are distributed to,

cardholders.   These statements typically identify each credit or

debit card purchase made by the cardholder, the amount of the

purchase, and the name associated with the merchant.




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                 THE TRANSACTION LAUNDERING SCHEME

     12.   During the time period charged in this Indictment,

because most banks in the United States were unwilling to

process credit and debit card transactions involving marijuana,

RUBEN WEIGAND, the defendant, and other members of the

conspiracy, used several strategies to trick United States

issuing banks into authorizing marijuana transactions for the

Online Marijuana Marketplace Company.       The primary method used

by WEIGAND and other co-conspirators involved the creation and

use of the Phony Merchants.     These fraudulent companies were

used to open offshore bank accounts with merchant acquiring

banks and to initiate credit card charges for marijuana

purchases made through the Online Marijuana Marketplace Company.

Because of the high risk associated with processing transactions

that involved unlawful activity (i.e., the sale of marijuana),

employees at some of the acquiring banks charged high fees for

the acquiring banks to process these transactions.

     13.   RUBEN WEIGAND, the defendant, ~orked with other co-

conspirators to create the Phony Merchants -       including phony

online merchants purportedly selling dog products, dive gear,

carbonated drinks, green tea, and face creams - and establish

Visa and MasterCard merchant processing accounts with one or

more offshore acquiring banks.      WEIGAND and his co-conspirators

arranged for more than a dozen Phony Merchants to be used by the

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Online Marijuana Marketplace Company.       For example, some of the

website names for the Phony Merchants included: absolutsoda.com;

diverkingdom.com; fly2skyshop.com; goodegreenbazaar.com;

greenteacha.com; happypuppybox.com; outdoormaxx.com; and

soniclogistix.com.    The Phony Merchants also typically had web

pages suggesting that they were involved in selling legitimate

goods, such as carbonated drinks, face cream, dog products, and

diving gear.   Yet, as noted above, these companies were actually

being used to facilitate the approval and processing of

marijuana transactions.     Furthermore, the Phony Merchants were

not based in the United States, and many of them had the same

address listed as their company address.        In addition, while

these entities claimed to be based outside the United States,

their customer service telephone numbers were American phone

numbers.

     14.   Between at least in or about May 2018 and at least in

or about July 2019, more than approximately $100 million in

credit and debit card transactions were processed for several of

the Phony Merchants that were being used by RUBEN WEIGAND, the

defendant, and other co-conspirators, to process marijuana

purchases involving the Online Marijuana Marketplace Company.

Some of the merchant websites listed for those transactions

include: greenteacha.com, medical-stf.com, organikals.store, and

soniclogistix.com.    WEIGAND, and others, also worked with and

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directed others to apply incorrect MCCs to the Online Marijuana

Marketplace Company marijuana transactions in order to disguise

the nature of those transactions and create the false appearance

that the transactions were completely unrelated to marijuana.

Some of the MCCs/categories listed for the transactions listed

above included stenographic services, music stores/pianos, and

cosmetic stores.    None of the merchant website names listed for

those transactions referred to the Online Marijuana Marketplace

Company or to marijuana.

                        STATUTORY ALLEGATIONS

     15.    From at least in or about 2016, up to and including in

or about 2019, in the Southern District of New York and

elsewhere, RUBEN WEIGAND, the defendant, and others known and

unknown, willfully and knowingly combined, conspired,

confederated, and agreed together and with each other to commit

bank fraud,   in violation of Title 18, United States Code,

Section 1344.

     16.    It was a part and object of the conspiracy that RUBEN

WEIGAND, the defendant, and others known and unknown, willfully

and knowingly, would.and did execute, and attempt to execute, a

scheme and artifice to defraud a financial institution, the

deposits of which were then federally insured, and to obtain

moneys,    funds, credits, assets, securities, and other property

owned by, and under the custody and control of, such financial

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institution, by means of false and fraudulent pretenses,

representations, and promises, in violation of Title 18, United

States Code, Section 1344, to wit, WEIGAND participated in a

scheme to deceive financial institutions and other financial

intermediaries-including federally insured banks-into processing

and authorizing payments to and from marijuana sale and delivery

businesses and their customers in the United States by

disguising the transactions to create the false appearance that

they were unrelated to the purchase of marijuana, and thereby

obtain money of, or under the custody and control, of those

financial institutions and intermediaries.

           (Title 18, United States Code, Section 1349.)

                         FORFEITURE ALLEGATION

     17.   As a result of committing the offense alleged in

Count One of this Indictment, RUBEN WEIGAND, the defendant,

shall forfeit to the United States, pursuant to Title 18, United

States Code, Section 982 (a) ( 2) (A) , any and all property

constituting, or derived from, proceeds obtained directly or

indirectly, as a· result of the commission of said offense,

including but not ·limited to a sum of money in United States

currency representing the amount of proceeds traceable to the

commission of said offense.




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                        Substitute Assets Provision

     18.     If any of the above-described forfeitable property, as

a result of any act or omission of the defendant:

             a.    cannot be located upon the exercise of due

diligence;

             b.    has been transferred or sold to, or deposited

with, a third person;

             c.    has been placed beyond the jurisdiction of the

Court;

             d.    has been substantially diminished in value; or

             e.    has been commingled with other property which

cannot be subdivided without difficulty;

it is the intent of the United States, pursuant to Title 21,

United States Code, Section         853(p) and Title 28, United States

Code, Section 2461(c), to seek forfeiture of any other property

of the defendant up to the value of the above forfeitable

property.

               (Title 18, United States Code, Section 981;
             Title 21, United States Code, Section 853; and
              Title 28, United States Code, Section 2461.)




Foreperson                                 GEOFF Y.      BERMAN
                                           United States Attorney
                                           Southern District of New York



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               Form No. USA-33s-274                      (Ed. 9-25-58)


                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK


                               UNITED STATES OF AMERICA

                                                v.

                                       RUBEN WEIGAND,


                                                                Defendant.




                                     SEALED INDICTMENT

                                           S2 20 Cr. 188

                                     (18   u.s.c.    § 1349.)




                                                   GEOFFREY S. BERMAN
                                              United States Attorney.



                                           A TRUE BILL




                                                     \       Foreperson.




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